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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                             Criminal No. 11-cr-150-02-JL

David Moses

                                     O R D E R

        The assented to motion to reschedule jury trial (document no.              22) filed

by defendant David Moses is granted in part; The continuance is limited to

60 days.    As all co-defendants assented to the continuance, trial is continued

as to all defendant as follows:          Final Pretrial is rescheduled to February

23, 2012 at 2:00 p.m.; Trial is continued to the two-week period beginning

March 6, 2012, 9:30 a.m.

        Defendant Moses shall file a waiver of speedy trial rights within 10 days.

The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial,

18 U.S.C. ' 3161(h)(7)(B)(iv), for the reasons set forth in the motion.

        SO ORDERED.




Date:     December 14, 2011

cc:     Jonathan Cohen, Esq.
        Jennifer Davis, Esq.
        Donnald Kennedy, Esq.
        Theodore Lothstein, Esq.
        U.S. Marshal
        U.S. Probation
